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    The Intel Czar Stumbles
    Outcry in Congress derails Dennis Blair's choice for top post.


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    Chas Freeman, the Obama administration's choice to serve in a key U.S. intelligence post, 
    abruptly withdrew Tuesday after House Speaker Nancy Pelosi and numerous other congressional 
    leaders complained to the White House that he was too closely tied to Saudi and Chinese 
    government interests.

    The resignation of Freeman represents another serious "vetting" embarrassment for the White 
    House and a personal blow to Dennis Blair, President Obama's national intelligence director. After 
    choosing Freeman to head the National Intelligence Council, Blair had publicly defended his 
    choice and insisted as recently as this week that he had no intention of withdrawing the selection. 
    On Monday, Freeman himself was telling people on Capitol Hill that the more criticism was 
    heaped on him, the more intent he was on fighting to stay at the intelligence council.
    A former U.S. ambassador to Saudi Arabia, Freeman has faced questions over the past two
    weeks about financial ties between members of the Saudi royal family and the Middle East Policy 
    Council (MEPC), a Washington think tank he heads that has been critical of U.S. support for 
    Israeli government policies. But Pelosi's objections reportedly focused on Freeman's ties to 
    China. A well-placed Democratic source said Pelosi, a strong supporter of the Chinese human-
    rights movement, was incensed about public remarks that Freeman once made that seemed to 
    justify the violent 1989 Chinese government crackdown on democracy protesters at Tiananmen 
    Square. The source, who asked not to be identified, said Pelosi thought Freeman's views were 
    "indefensible" and complained directly to President Obama about his selection.

    A spokeswoman for Blair said that neither Freeman nor the intelligence czar would have any 
    comment beyond the brief written statement Blair issued Tuesday regarding Freeman's 
    withdrawal. But in a rambling and angry e-mail obtained Tuesday night by Foreign Policy, 
    Freeman lashed out at his accusers and seemed to blame all his troubles on unnamed members 
    of the "Israel Lobby."

    "I have concluded that the barrage of libelous distortions of my record would not cease upon my 
    entry into office," Freeman wrote, explaining his decision to withdraw. "I do not believe the 
    National Intelligence Council could function effectively while its chair was under constant attack by 
    unscrupulous people with a passionate attachment to the views of a political faction in a foreign 
    country. ... The tactics of the Israel Lobby plumb the depths of dishonor and indecency and 
    include character assassination, selective misquotation, the willful distortion of the record, the
    fabrication of falsehoods, and an utter disregard for the truth. The aim of this Lobby is control of 
    the policy process through the exercise of a veto over the appointment of people who dispute the 
    wisdom of its views, the substitution of political correctness for analysis, and the exclusion of any 
    and all options for decision by Americans and our government other than those that it favors."

    As Blair's pick to chair the National Intelligence Council, Freeman was in line to serve as the 
    country's de facto top intelligence analyst. The NIC serves as a "center of strategic thinking within 
    the U.S. government," according to its Web site. It reviews and evaluates intelligence analysis
    produced by all U.S. intelligence agencies and produces reports both for Blair and the White 
    House.

    At first, Freeman was seen as a well-qualified pick due to decades of diplomatic and government 
    work, including serving as President Nixon's interpreter during his 1972 historic trip to Beijing, 
    President George H. W. Bush's ambassador to Saudi Arabia during Operation Desert Storm and
    President Clinton's assistant secretary of defense for international affairs. But the selection quickly 
    attracted noisy criticism from Obama administration critics, starting with conservative pro-Israel 
    activists who questioned Freeman's public criticism of Washington's support for Israeli policies. 
    But the controversy over Freeman mushroomed over the last two weeks with Blair's office
    receiving letters questioning the appointment not only from members of the House and Senate 
    Intelligence Committees but also from congressional appropriations and oversight committees.



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    In a letter to the House Intelligence Committee late week, Blair had insisted that Saudi 
    government contributions to the MEPC accounted for "no more than one twelfth" of the Middle-
    East Policy Council's annual $600,000 budget. But that figure omitted any reference to reportedly
    extensive contributions from a number of Saudi princes and others closely tied to the Saudi 
    government. For example, during a trip that Freeman made to Riyadh in 2007, Saudi billionaire 
    Prince Alwaleed bin Talal—a member of the Saudi royal family—met with Freeman and pledged 
    $1 million to support the council's "general purpose activities" and another $100,000 for an 
    educational program run by the group, according to a March 19, 2007, account in Al-Riyadh, a 
    Saudi newspaper. The paper's story was accompanied by a photograph of the meeting between 
    Freeman and the prince.

    Freeman "had an ever-expanding financial conflict of interest involving foreign powers," said Rep. 
    Mark Kirk, a Republican from Illinois who along with nine other House members last week signed 
    a letter calling for an immediate review of Freeman's ties to foreign governments. "They [the 
    White House] appointed him without even having him fill out a financial disclosure form. All of this 
    should have been looked at beforehand."

    Despite this growing chorus of criticism, Blair had refused to back down and offered an 
    aggressive endorsement of Freeman. "I am writing to underscore my full support for the 
    appointment of Ambassador Charles Freeman as Chairman of the National Intelligence Council," 
    he wrote Rep. Silvestre Reyes, the chairman of the House Intelligence Committee, and Rep. 
    Peter Hoekstra, the ranking Republican, in a letter last week. Blair's letter went on to defend in
    detail some of Freeman's private-sector activities, stating that Freeman had "never been a Capitol 
    Hill lobbyist nor has he ever lobbied on behalf of any government or business (domestic or 
    foreign). Ambassador Freeman has never received any income directly from Saudi Arabia or any 
    Saudi-controlled entity."

    Blair also noted that Freeman resigned from an advisory board of the Chinese National Offshore 
    Oil Co. (a Chinese-government-owned entity) on Feb. 1 of this year. He said the board had met 
    once a year and that Freeman had received a yearly fee of $10,000 for serving on it. He said that 
    the board advised the Chinese firm on "management of political risk" but that Freeman was never 
    asked to advise the Chinese company regarding its purchase of the U.S.-based UNOCAL oil 
    company or dealings with Iran.

    But Pelosi in particular was upset about public comments that seemed to belittle the Chinese
    human-rights movement—a cause she has championed for years. In 2005, for instance, Freeman 
    was quoted as writing in a public e-mail about the Tiananmen Square massacre: "[T]he truly 
    unforgivable mistake of the Chinese authorities was the failure to intervene on a timely basis to 
    nip the demonstrations in the bud … In this optic, the Politburo's response to the mob scene at 
    'Tian'anmen' stands as a monument to overly cautious behavior on the part of the leadership, not 
    as an example of rash action.

    "I do not believe it is acceptable for any country to allow the heart of its national capital to be 
    occupied by dissidents intent on disrupting the normal functions of government, however
    appealing to foreigners their propaganda may be," he added. "Such folk, whether they represent a 
    veterans' 'Bonus Army' or a 'student uprising' on behalf of 'the goddess of democracy' should 
    expect to be displaced with despatch [sic] from the ground they occupy."


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